    Case 16-24825-JAD          Doc 21-3 Filed 06/09/17 Entered 06/09/17 13:18:18                   Desc
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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE;                                         BankruptcyNo. 16-24825
John Sorensen                                  Chapter 7
Cambria Sorensen
                           Debtor



                                  DECLARATION OF PATRICK BUTLER

         I, Patrick Butler, am employed by BK Global Real Estate Services ("Applicant" or"BKRES"), which
is an entity duly licensed as a real estate brokerage by the State of Florida located at 1095 Broken Sound
Pkwy NW, Suite 100, Boca Raton, FL 33487. I am Applicant's broker-in-charge and am authorized by
Applicant to submit this Declaration on Applicant's behalfin support ofthe Application to retain BKRES!
         Based upon the information discussed below, I believe that Applicant is a disinterested person and
doesnot hold or represent any interest adverse to the interestof the Debtor's estate as that term is defined in
Section 101(14) of the Bankruptcy Code.

         To the best of my knowledge: (a) neither BKRES nor any of its employees has any connection with
the Debtor, its creditors, the Chapter 7 Trustee, the Office ofthe United States Trustee, or any employees
thereof orany parly in interest herein; (b) BKRES and each of its employees are "disinterested persons," as
that term is defined in Section 101(14) of the Bankruptcy Code; and (c) neither BKRES nor any of its
employees holdor represent any interestadverseto the Debtor's estate.

        I have read the application ofthe Trustee regarding the retention and compensation ofBKRES and
agree to bebound by the terms and conditions represented therein. I further understand that the Court, in its
discretion, may alter the terms and conditions of employment and compensation as fully set forth in the
BKRES Agreement.

         Verified under penalty ofpeijuiy that the foregoing is true and correct this 2 day ofJune, 2017.



                                                                     PatrickButler
                                                                     Corporate Broker
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                                                                     NW Suite 100
                                                                     Boca Raton, FL 33487
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                                                                     Email: pbutler@bkginc.com




                                                 EXHIBIT C
